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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:13-CR-3130

vs.
                                                 TENTATIVE FINDINGS
RAMON GARCIA,

                 Defendant.


     The Court has received the presentence investigation report (PSR) and
addendum in this case. The defendant has objected to several aspects of the
PSR and moved for a downward departure or variance. Filing 140. The
defendant has requested a hearing to be held at sentencing.

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005), and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines such weight as they deserve within
            the context of each individual case and will filter the Guidelines’
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or “substantial” weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;
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     (e)   depart from the advisory Guidelines, if appropriate, using pre-
           Booker departure theory; and

     (f)   in cases where a departure using pre-Booker departure theory is
           not warranted, deviate or vary from the Guidelines when there is
           a principled reason justifying a sentence different than that
           called for by application of the advisory Guidelines, again without
           affording the Guidelines any particular or “substantial” weight.

2.   The defendant has objected to several aspects of the PSR and moved for
     a downward departure or variance. Filing 140. The Court will resolve
     the defendant's motion for departure or variance at sentencing. His
     objections require some further discussion.

     First, the defendant disputes the probation officer's drug-quantity
     calculation. The probation officer found that the defendant should be
     held responsible for 34.5 kilograms of methamphetamine mixture,
     resulting in a base offense level of 38. PSR at ¶¶ 9–29, 37. The
     defendant has objected to this quantity determination and to the
     "'factual basis in the (PSR) relied upon to reach that
     determination . . . .'" PSR at p. 18. The defendant submits that a base
     offense level of 32 would be more appropriate.

     It is the government's burden to prove drug quantity by a
     preponderance of the evidence. United States v. Young, 689 F.3d 941,
     945 (8th Cir. 2012). And it is well settled that "[t]he PSR is not
     evidence. If the defendant objects to any of the factual allegations
     contained therein on an issue on which the government has the burden
     of proof . . . the government must present evidence at the sentencing
     hearing to prove the existence of the disputed facts." United States v.
     Mann, 701 F.3d 274, 310 (8th Cir. 2012). The government should
     therefore be prepared to present evidence as to the quantity of drugs
     attributable to the defendant. The Court will resolve this objection at
     sentencing.

     The defendant next objects to the three-level enhancement for acting in
     a managerial or supervisory role, pursuant to U.S.S.G. § 3B1.1(b). See
     PSR at ¶¶ 31, 40 & pp. 19–20. As with the previous objection, the
     defendant objects generally to the factual basis for the enhancement.
     See, filing 140 at 2; PSR at p. 19. Again, the government should be



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     prepared to present evidence at sentencing, and the Court will resolve
     the objection at that time.

     Finally, the defendant has objected to the proposed two-level
     enhancement under U.S.S.G. § 2D1.1(b)(12) for maintaining a premises
     for the manufacture or distribution of drugs. See, filing 140 at 2; PSR at
     ¶¶ 19, 30, 38 & p. 19. This objection may rest upon a firmer foundation
     than the defendant's previous objections.

     Section 2D1.1(b)(12) is an enhancement of recent vintage, and first
     appeared in the November 2011 Guidelines Manual. See, Pub. L. No.
     111–220, § 6(2), 124 Stat. 2372, 2373 (2010); United States v. Miller,
     698 F.3d 699, 705 (8th Cir. 2012). The guideline provides for a two-level
     increase where "the defendant maintained a premises for the purpose
     of manufacturing or distributing a controlled substance." U.S.S.G. §
     2D1.1(b)(12). This includes using the premises to store controlled
     substances for the purpose of distribution. § 2D1.1 cmt. n.17.

     Among the factors a court considers in determining whether a
     defendant “maintained” premises for drug distribution are: whether he
     or she owned or rented the premises and the extent to which he or she
     controlled access to, or activities at, the premises. § 2D1.1, cmt. n.17;
     see also Miller, 698 F.3d at 706. The comments to § 2D1.1 further
     provide:

           Manufacturing or distributing a controlled substance need
           not be the sole purpose for which the premises was
           maintained, but must be one of the defendant's primary or
           principal uses for the premises, rather than one of the
           defendant's incidental or collateral uses for the premises.
           In making this determination, the court should consider
           how frequently the premises was used by the defendant for
           manufacturing or distributing a controlled substance and
           how frequently the premises was used by the defendant for
           lawful purposes.

     § 2D1.1 cmt. n.17. Thus, there are two major prongs to the
     enhancement: (1) control of the premises, and (2) use of the premises
     for the purpose of manufacturing or distributing controlled substances.




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       The premises at issue here is the "J Street" apartment in Lincoln,
       Nebraska. PSR at ¶ 19. On June 23 and 24, 2013,1 a maroon car
       associated with the underlying drug conspiracy was seen to enter the
       apartment's garage. PSR at ¶¶ 18–21. Then, according to the PSR:

              [f]or over two hours on June 24, 2013, people were
              seen in the vicinity of the garage. Although the
              investigators’ view was obstructed so they were
              unable to see whether anyone entered the garage,
              they believe they were entering it. The vehicle was
              then driven out of the garage. These circumstances
              lead one to believe that drugs were being taken from
              a hidden compartment in the maroon Infiniti.

       PSR ¶ 19.

       At some point thereafter (it is not clear when), law enforcement officers
       executed a search warrant at the J Street apartment. They found a
       total of 70.6 grams of methamphetamine mixture and a very small
       amount of marijuana. While there, officers spoke to Garcia's sister-in-
       law. She stated she had been living there for about 2 weeks. She
       explained this arrangement had been initiated by Garcia and his wife
       (her sister), and that she had not paid either a deposit or rent on the
       property. PSR at ¶ 30.

       Assuming the truth of the facts as stated in the PSR, there is sufficient
       evidence to find that Garcia controlled the J Street apartment (at least
       for the period surrounding the search warrant). The lease for the
       apartment is not before the Court. But Garcia exercised enough control
       over the apartment to arrange for his sister-in-law to live there. Absent
       any further evidence to the contrary, the Court tentatively finds that
       the evidence supports the first prong of the premises enhancement—
       that Garcia controlled the apartment. However, the same cannot be
       said for the second "use" or "purpose" prong of § 2D1.1(b)(12).

       In evaluating the second half of the premises enhancement, courts look
       to the factors suggested in the comments to the guideline, including the
       frequency with which the premises was used for drug-related activities,
       whether those activities were substantial or significant, and whether

1 The Court understands this to refer to one occasion spanning both days.




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       there was any other legitimate use for the premises. See, e.g., Miller,
       698 F.3d at 705–07; see also, United States v. Johnson, 737 F.3d 444,
       448–49 (6th Cir. 2013); United States v. Flores-Olague, 717 F.3d 526,
       532–33 (7th Cir. 2013). The premises enhancement was modeled after
       21 U.S.C. § 856, known colloquially as the "'crack-house statute.'"
       Flores-Olague, 717 at 531.2 So, courts evaluating § 2D1.1(b)(12) also
       look to cases interpreting § 856. See, e.g., Flores-Olague, 717 at 531;
       Miller, 698 F.3d at 706–07. As it stands, the record contains insufficient
       evidence as to both the frequency and significance of any drug
       operations occurring at the J Street apartment.

       Section 2D1.1(b)(12) clearly applies where defendants have used
       premises for drug operations over an extended period of time. See, e.g.,
       Flores-Olague, 717 at 530 (defendant used house to store and sell drugs
       for 3 years); Miller, 698 F.3d at 706 (6 years, plus four controlled buys
       at the house); cf. United States v. Rhodes, 730 F.3d 727 (8th Cir. 2013)
       (conviction under § 856 upheld where defendant "regularly" used
       apartment to store, weigh, and package drugs over period of several
       months). And the enhancement has been applied where, although there
       were fewer transactions, the premises was used to store major
       quantities of drugs for several months. See Johnson, 737 F.3d at 448.
       By contrast, the enhancement was not applied in United States v. Ortiz,
       807 F. Supp. 2d 746 (N.D. Ill. 2011), where the defendant used a house
       to receive only a single drug shipment.

       This case more closely resembles Ortiz than any of the cases where the
       enhancement was found to apply. The PSR states only that on one
       occasion in June 2013, law enforcement officers observed circumstances
       that would support an inference that drugs were being unloaded in the
       apartment's garage. Then, on some later date, about 70 grams of
       methamphetamine mixture was found at the apartment. Given the
       large quantity of drugs involved in this case—34.5 kilograms, according
       to the PSR—70 grams is hardly evidence that drug distribution was a
       primary use of the J Street apartment.

       The Seventh Circuit has held that, under both § 856 and § 2D1.1(b)(12),
       an individual "'maintains' a drug house if he owns or rents

2 Section 856(a)(1) makes it unlawful to " knowingly open, lease, rent, use, or maintain any

place, whether permanently or temporarily, for the purpose of manufacturing, distributing,
or using any controlled substance."


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     premises, . . . and for a sustained period of time, uses those premises to
     manufacture, store, or sell drugs." Flores-Olague, 717 F.3d at 532
     (emphasis supplied). The evidence here—two isolated incidents, neither
     of which involved Garcia personally, and only one of which yielded
     actual evidence of drugs—does not show a "sustained" use of the
     premises for the storage or distribution of drugs.

     Additionally, the search of the J Street apartment did not uncover any
     other indicia of drug activities, such as large amounts of currency or
     "tools of the trade" like guns, paraphernalia, or packing or weighing
     materials. See Flores-Olague, 717 F.3d at 533. Instead, investigators
     discovered 4 pounds of methamphetamine and large amounts of cash in
     several other apartments. PSR ¶¶ 22, 30. The lack of a comparable
     discovery at the J Street apartment weighs against application of the
     premises enhancement.

     Thus, the Court tentatively finds that—as the record stands—an
     enhancement under § 2D1.1(b)(12) is not warranted. Of course, that
     finding could potentially change if the government presents additional,
     or more persuasive, evidence at the sentencing hearing.

3.   Except to the extent, if any, that the Court has sustained an objection,
     granted a motion, or reserved an issue for later resolution in the
     preceding paragraph, the parties are notified that the Court's tentative
     findings are that the presentence report is correct in all respects.

4.   If any party wishes to challenge these tentative findings, that party
     shall, as soon as possible (but in any event no later than three (3)
     business days before sentencing) file with the Court and serve upon
     opposing counsel an objection challenging these tentative findings,
     supported by a brief as to the law and such evidentiary materials as are
     required, giving due regard to the local rules of practice governing the
     submission of evidentiary materials. If an evidentiary hearing is
     requested, such filings should include a statement describing why a
     hearing is necessary and how long such a hearing would take.

5.   Absent timely submission of the information required by the preceding
     paragraph, the Court’s tentative findings may become final and the
     presentence report may be relied upon by the Court without more.




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6.   Unless otherwise ordered, any objection challenging these tentative
     findings shall be resolved at sentencing.

     Dated this 29th day of January, 2014.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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